               IN THE UNITED STATES DISTRICT COURT FOR THE
                       MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE DIVISION


UNITED STATES OF AMERICA                         )
                                                 )      Criminal No. 3:07-00223-01
v.                                               )      Judge Trauger
                                                 )
REGGIE K. JACKSON                                )

                                        ORDER

      It is hereby ORDERED that a hearing will be held on the Petition to Revoke Supervision

(Docket No. 206) on Monday, November 26, 2012, at 2:30 p.m.

      It is so ORDERED.

      ENTER this 23rd day of October 2012.



                                                 ________________________________
                                                       ALETA A. TRAUGER
                                                         U.S. District Judge




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